




NO. 07-04-0249-CR



IN THE COURT OF APPEALS



FOR THE SEVENTH DISTRICT OF TEXAS



AT AMARILLO



PANEL B



JUNE 10, 2004



______________________________





CHANCE WAYNE FARNSWORTH, APPELLANT



V.



THE STATE OF TEXAS, APPELLEE





_________________________________



FROM THE 47TH DISTRICT COURT OF RANDALL COUNTY;



NO. 15,407-A; HONORABLE HAL MINER, JUDGE



_______________________________



Before JOHNSON, C.J., and QUINN and CAMPBELL, JJ.

MEMORANDUM OPINION

Appellant, Chance Wayne Farnsworth, pled guilty to aggravated kidnapping and was sentenced to 20 years confinement in the Texas Department of Criminal Justice-Institutional Division. The sentence was imposed on February 4, 2004. On April 16, 2004, appellant filed a 
pro se 
notice of appeal with the trial court.



To be timely, a notice of appeal must be filed within 30 days after the sentence is imposed or suspended in open court if there has not been a timely motion for new trial filed with the court. &nbsp;Tex. R. App. P. 25.2 &amp; 26.2(a)(1), (2). Here, no motion for new trial was filed with the trial court. Furthermore, appellant did not move for an extension of the deadline. 

A timely filed notice of appeal is essential to invoke our appellate jurisdiction. 
Olivo v. State
, 918 S.W.2d 519, 522 (Tex.Crim.App. 1996). &nbsp;As noted, appellant’s sentence was imposed on February 4, 2004. &nbsp;No motion for new trial or extension of time was filed, making appellant’s notice of appeal due on March 5, 2004. Appellant’s notice of appeal was filed more than one month after that date. Because appellant’s notice of appeal was untimely filed, we have no jurisdiction to consider the appeal. 

Appellant’s appeal is dismissed for want of jurisdiction.



Phil Johnson

Chief Justice





Do not publish.			


